









Dismissed and Memorandum Opinion filed September 29, 2005









Dismissed and Memorandum Opinion filed September 29,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00707-CV

____________

&nbsp;

JOSEPH LARRY PORTER,
Appellant

&nbsp;

V.

&nbsp;

CHARLES A. BROWN,
Appellee

&nbsp;



&nbsp;

On Appeal from the 125th District
Court

Harris County, Texas

Trial Court Cause No.
04-00986

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed June 28, 2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On August 22, 2005, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed a response, asking for a free copy of the
record.&nbsp; This motion is denied.&nbsp; To establish indigence, a party must file an
affidavit of indigence in the trial court with or before the notice of
appeal.&nbsp; Tex. R. App. P. 20.1(c)(1).&nbsp;
Appellant=s response does not state that he filed an affidavit of
indigence with or before the filing of the notice of appeal.&nbsp; 

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed September 29, 2005.

Panel consists of Justices Hudson,
Frost, and Seymore. 

&nbsp;





